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                                                                                                 3 County, Indiana


STATE OF INDIANA                )              IN THE LAKE SUPERIOR COURT
                                )SS:
COUNTY OF LAKE                  )              SITTING IN GARY, INDIANA

CHANEL BATTLE,                                        )
                                                      )
        Plaintiff,                                    )
                                                      )
vs.                                                   ) CAUSE NO.: 45D04-1902-CT-000231
                                                      )
OUTBACK STEAKHOUSE OF                                 )
FLORIDA, LLC, OUTBACK                                 )
STEAKHOUSE, MERRILLVILLE,                             )
INDIANA                                               )
                                                      )
        Defendants.                                   )

             AMENDED COMPLAINT FOR DAMAGES AND JURY DEMAND

        Comes now Plaintiff, CHANEL BATTLE, by counsel, Tolbert & Tolbert, LLC, and for

her cause of action against the Defendants, OUTBACK STEAKHOUSE OF FLORIDA, LLC and

OUTBACK          STEAKHOUSE,           MERRILLVILLE,      INDIANA    (hereinafter   referred     to

(“Defendants”), states as follows:

           1.    That on or about June 17, 2017, Plaintiff, CHANEL BATTLE, was a resident of

Hobart, Lake County, Indiana.

           2.    That on or about June 17, 2017, Defendant, OUTBACK STEAKHOUSE OF

FLORIDA, LLC, was a for profit domestic limited liability company domiciled in Tampa, Florida

that conducted business transactions in the State of Indiana.

           3.    That on or about June 17, 2017, the Defendants owned and/or operated the

restaurant located at 1590 E. Lincoln Highway, Merrillville, Lake County, Indiana 46410.

           4.    That on or about June 17, 2017, Plaintiff, CHANEL BATTLE, was an invitee on

the premises of the Defendants, located at 1590 E. Lincoln Highway, Merrillville, Lake County,

Indiana 46410.

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             5.   That at said date and time, the Defendants had a duty to maintain the premises in a

reasonably safe condition.

             6.   That at said time and place, the Defendants were negligent and at fault in

maintaining, operating, inspecting, and warning those on its premises so as to create an unsafe

condition for the Plaintiff, CHANEL BATTLE, and others similarly situated, and were otherwise

negligent.

             7.   That as a direct and proximate result of said fault by the Defendants, the Plaintiff,

CHANEL BATTLE, sustained injuries, some of which may be permanent and lasting, has incurred

doctor and medical expenses, and may continue to incur doctor and medical expenses in the future,

has incurred pain and suffering, mental and emotional distress, and may continue to incur pain,

suffering and distress in the future.

        WHEREFORE, Plaintiff, CHANEL BATTLE, prays for judgment against the Defendants

in an amount that will reasonably compensate her for her damages and losses in the above-

referenced matter and that the Court award all other damages which are just and proper in the

premises.



                                                Respectfully Submitted,

                                                TOLBERT & TOLBERT, LLC



                                                /s/Michael E. Tolbert
                                                Michael E. Tolbert, #22555-64
                                                1085 Broadway, Suite B
                                                Gary, IN 46402
                                                (219) 427-0094
                                                Attorney for Plaintiff




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                                     JURY DEMAND

    Plaintiff demands trial by jury on all issues.




                                           Respectfully Submitted,

                                           TOLBERT & TOLBERT, LLC



                                           /s/Michael E. Tolbert
                                           Michael E. Tolbert, #22555-64
                                           1085 Broadway, Suite B
                                           Gary, IN 46402
                                           (219) 427-0094
                                           Attorney for Plaintiff




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